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1    Dustin D. Johnson (SBN: 234008)
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3    Phone: (877) 377-8070
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4
     Counsel for AMY HER
5

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7
                                   UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10    THE UNITED STATES OF AMERICA,                           Case No.: 2:15-CR-115 TLN

11                  Plaintiff,                                STIPULATION  AND    ORDER                TO
                                                              CONTINUE SENTENCING
12            vs.
                                                              Judge: Hon. Troy L. Nunley
13    AMY HER                                                 Time: 9:30 a.m.
                                                              Date: October 25, 2018
14                  Defendant.

15

16

17            IT IS HEREBY STIPULATED by and between the parties hereto through their respective

18   counsel, Matthew Yelovich, Assistant United States Attorney, and Dustin D. Johnson, Counsel for

19   AMY HER, that:

20         1. By previous order, this matter was set for sentencing on May 31, 2018.

21         2. By this stipulation, the parties now move to continue sentencing until October 25, 2018, at

22            9: 30 a.m.

23         3. The parties agree and stipulate that this continuance will provide both parties additional

24   time to prepare for sentencing by, inter alia, researching issues pertinent to making a

25   recommendation to the Court for a proposed sentence.

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27   IT IS SO STIPULATED.

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1           The prosecutor has authorized defense counsel to sign this stipulation on his behalf.

2           The probation officer has no objection to continuing the judgment and sentencing hearing

3    to October 25, 2018 and has provided the following briefing schedule based on the new

4    Judgment and Sentencing Date of October 25, 2018.

5           •   Reply, or Statement of Non-Opposition: October 18, 2018

6           •   Motion for Correction of the Presentence Report shall be filed with the Court and

7               served on the Probation Officer and opposing counsel no later than: October 11, 2018

8           •   The Presentence Report was filed with the Court on November 8, 2017.

9    Dated: May 24, 2018                  Respectfully submitted,

10

11                                                /s/ Dustin D. Johnson
                                                  Dustin D. Johnson
12                                                Counsel for Amy Her
13

14   Dated: May 24, 2018                          McGregor Scott
                                                  United States Attorney
15

16                                                /s/ Matthew M. Yelovich (approved via email)
                                                  MATTHEW M. YELOVICH
17                                                Assistant U.S. Attorney
18
                                                 ORDER
19
            IT IS SO ORDERED this 24th day of May, 2018.
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                                                           Troy L. Nunley
24                                                         United States District Judge
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